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10                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF CALIFORNIA
11

12    MOHAMMED USMAN ALI,
13
      Individually and On Behalf of All          Case No. 3:21-CV-00687-AJB-MSB
      Others Similarly Situated,
14
                                   Plaintiffs,
15         v.                                    AMENDED CLASS ACTION
                                                 COMPLAINT FOR VIOLATIONS
16                                               OF THE FEDERAL SECURITIES
      FRANKLIN WIRELESS CORP., OC                LAWS
17    KIM, and DAVID BROWN,
18

19                            Defendants.        JURY TRIAL DEMANDED

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 1          Court-appointed Lead Plaintiff Gergely Csaba (“Lead Plaintiff” or “Csaba”), by
 2    and through undersigned counsel, brings this federal securities class action individually
 3    and on behalf of all other persons and entities (the “Class”1) who purchased or otherwise
 4    acquired the common stock of Franklin Wireless Corporation (“Franklin” or the
 5    “Company”), between September 17, 2020 and April 8, 2021, inclusive (the “Class
 6    Period”).
 7          Lead Plaintiff’s claims are brought upon personal knowledge as to his own acts,
 8    and upon information and belief as to all other matters, based upon, among other things,
 9    a review and analysis of (1) reports and documents filed by Franklin with the U.S.
10    Securities & Exchange Commission (“SEC”); (2) reports issued by analysts covering or
11    concerning Franklin and its business; (3) press releases, news articles, transcripts, and
12    other public statements issued by or about Franklin, its business, and the Defendants; (4)
13    an investigation conducted by Lead Plaintiff’s attorneys and their staff that included
14    interviews with numerous confidential witnesses (“CWs”), including former Franklin
15    employees; (6) consultations with experts; and (7) other publicly available information
16    concerning Franklin, its business, and the allegations contained herein.
17                                    I.    INTRODUCTION
18          1.      This is a federal securities class action against Franklin and two of its
19    senior-most executives seeking damages and other legal and equitable remedies to
20    redress harms caused by Defendants’ violations of Sections 10(b) and 20(a) of the
21    Exchange Act, codified as amended, 15 U.S.C. §§ 78j(b) & 78t(a), and of SEC Rule
22    10b–5, codified as amended, 17 C.F.R. § 240.10b–5.
23

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            1
              The following are excluded from the Class: (1) Defendants; (2) members of the
25    immediate family of any Defendant who is a natural person; (3) any person who was an
26    officer or director of the Company during the Class Period; (4) any firm, trust,
      corporation, or other entity in which any Defendant has or had a controlling interest; (5)
27    the Company’s employee retirement and benefit plan(s), if any, and their participants or
28    beneficiaries; and (6) the legal representatives, affiliates, subsidiaries, parents, heirs,
      heirs apparent, successors-in-interest, or assigns of any such excluded person or entity.
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 1          2.      Franklin provides wireless solutions, including mobile hotspots, routers and
 2    modems, and markets and sells its products directly to wireless operators, and indirectly
 3    through partners and distributors.
 4          3.      Defendants’ conduct at the center of this Complaint was abominable.
 5    Defendants knew that Franklin’s core product dangerously overheated, risking severe
 6    injury to their consumers, which included school-age children, yet failed to disclose this
 7    critical fact to the public to prevent a collapse in the Company’s value. Beginning in
 8    April 2017, Franklin imported and sold millions of defective mobile hotspot devices
 9    (“Ellipsis Jetpacks” or “Jetpacks” or “Hotspots”) to customers in the United States,
10    including 2.5 million to its largest customer, Verizon Wireless, Inc. (“Verizon”). Most
11    of these devices ultimately were sold or leased by Verizon to school districts for use by
12    school-aged children in the United States. Franklin knew, but did not disclose, that
13    these devices were manufactured with defective lithium-ion batteries that posed a
14    serious safety hazard because the batteries could overheat and cause severe burns and, in
15    some cases, could catch fire, causing severe harm to life and property. Indeed, the CEO
16    of Franklin, Defendant Kim, personally requested and received investigative reports of
17    the burned devices as far back as 2019, and so was fully aware of these hazards.
18    Nevertheless, only after Verizon announced, on April 8, 2021, that it was recalling the
19    hotspot devices, did Franklin finally acknowledge (the next day, on April 9, 2021) that
20    its devices were defective and had caused injury on at least fifteen (15) occasions
21    between April 2017 and April 8, 2021.
22          4.      The Company’s SEC filings directly implied that Franklin’s devices were
23    not suffering from any noteworthy failures. Moreover, the Company was under an
24    obligation to disclose, yet failed to disclose, that the Ellipsis Jetpacks that Franklin sold
25    to its customers from as early as April 2017 through September 17, 2020 had defective
26    batteries that Defendants knew could cause the devices to overheat and pose a fire
27    hazard and that the Company’s customers would recall the Ellipsis Jetpacks.
28

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 1          5.      But-for Defendants’ wrongful acts and omissions, the market value of
 2    Franklin’s securities would not have been artificially inflated and Lead Plaintiff and
 3    members of the Class would not have been injured.
 4          6.      The truth was revealed in a series of corrective disclosures beginning on
 5    April 1, 2012 and ending on April 9, 2021:
 6                  (a)   On April 1, 2021, Franklin stated that it ha[d] been notified of
 7    reports of battery issues in some of its wireless hotspot devices,” and stated that “[t]he
 8    [C]ompany is working with its battery and device manufacturing partners and carrier
 9    customer to determine the cause and extent of the problem.” On this news, the price of
10    Franklin’s shares fell by $0.35 per share, or 1.65%, to close at $20.77 per share on April
11    5, 2021, the next trading session.
12                  (b)   On April 8, 2021, CNBC reported that Franklin’s customer, Verizon,
13    was “recalling 2.5 million” “Ellipsis Jetpack mobile hotspots imported by Franklin
14    Wireless Corp. and sold between April 2017 and March 2021” and that “[t]he affected
15    models are labeled: MHS900L, MHS900LS and MHS900LPP,” “after discovering that
16    the lithium ion battery can overheat, creating a fire and burning hazard,” and that “just
17    over 1 million of the recalled devices are currently in use, meaning currently or recently
18    used by customers.” According to CNBC, “Verizon had received 15 reports of the
19    hotspots overheating. Six of those reports included incidents of fire damage to bedding
20    or flooring and two involved minor burn injuries,” and that “[s]ome of the hotspots were
21    supplied to students by their schools to continue remote learning.”
22                  (c)   Also on April 8, 2021, the United States Consumer Product Safety
23    Commission (“USCPSC”) issued Recall Number 21-106 and published a notice of
24    Verizon’s recall of Franklin’s “Ellipsis Jetpack mobile hotspots,” identifying that “[t]he
25    lithium ion battery in the hotspots can overheat, posing fire and burn hazards.”
26    According to the USCPSC, “Verizon has received 15 reports of the hotspots
27    overheating, including six reports of fire damage to bedding or flooring and two reports
28    of minor burn injuries.” Additionally, the USCPSC advised “[p]arents whose children

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 1    received the recalled Ellipsis Jetpack from their schools” to “contact their school for
 2    instructions on how to receive a free replacement device and return their recalled
 3    Ellipsis Jetpacks.” On this news, the price of Franklin’s shares fell by $2.82 per share,
 4    or 14%, to close at $17.33 per share on April 8, 2021.
 5                  (d)   On April 9, 2021, Franklin stated that its customer, Verizon, “has
 6    issued a voluntary recall of its Jetpack Hotspot devices imported by Franklin,” adding
 7    that “Franklin is continuing to work with its battery and device manufacturing partners
 8    to determine the cause and extent of the concerns.”
 9                  (e)   On this news, the price of Franklin’s shares fell by $4.07 per share,
10    or nearly 23%, to close at $13.26 per share on April 9, 2021.
11          7.      As a result of Defendants’ wrongful acts and omissions, and the precipitous
12    decline in the market value of Franklin’s securities, Lead Plaintiff and other members of
13    the Class have suffered significant damages.
14                             II.   JURISDICTION AND VENUE
15          8.      The claims asserted herein arise under Sections 10(b) and 20(a) of the
16    Securities Exchange Act of 1934 (the “‘34 Act”), codified as amended,
17    15 U.S.C. §§ 78j(b), 78t(a), and pursuant to the rules and regulations duly promulgated
18    thereunder, including SEC Rule 10b–5, codified as amended, 17 C.F.R. § 240.10b–5.
19          9.      The Court has subject-matter jurisdiction over this action pursuant to
20    28 U.S.C. § 1331 because this is a case or controversy arising under the federal
21    securities laws, and pursuant to the plain language of Section 27 of the ‘34 Act, codified
22    as amended, 15 U.S.C. § 78aa.
23          10.     Venue is proper in the Southern District of California pursuant to Section
24    27 of the ‘34 Act, id. § 78aa, because Defendants transact business in this District and
25    because the Company’s principal place of business is located at 9707 Waples Street,
26    Suite 150, San Diego, California 92121, which is situated within this District. Venue is
27    also proper in this District pursuant to 28 U.S.C. §§ 1391(b)–(d) because many of the
28    acts and transactions that constitute the violations of law complained of in this Amended

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 1    Complaint, including the dissemination to the public of materially false or misleading
 2    statements, occurred in this District.
 3          11.      In connection with the acts, omissions, conduct, and other wrongs alleged
 4    herein, Defendants, directly or indirectly, used the means and instrumentalities of
 5    interstate commerce, including, but not limited to, the U.S. mails, the facilities of the
 6    national securities markets, and interstate telephonic and digital communications
 7    systems.
 8                                        III.   PARTIES
 9                A. Lead Plaintiff
10                   1.    Gergely Csaba
11          12.      Csaba is domiciled in Budapest, Hungary. Csaba purchased or otherwise
12    acquired Franklin common stock at artificially inflated prices during the Class Period
13    and was damaged upon the revelation of the corrective disclosures alleged herein, as set
14    forth in the Declaration of Gergely Csaba ¶ 2, ECF No. 6-6 (June 15, 2021), attached as
15    Exhibit D to the Declaration of Jennifer Pafiti in Support of Motion of Gergely Csaba
16    for Appointment as Lead Plaintiff and Approval of Lead Plaintiff’s Selection of
17    Counsel, ECF No. 6-2 (June 15, 2021) (the “Pafiti Decl.”), and incorporated herein by
18    reference.
19                B. Defendants
20                   1.    Franklin Wireless Corporation
21          13.      Franklin is a Nevada corporation, with its principal executive offices
22    located at 9707 Waples Street, Suite 150, San Diego, California 92121.
23          14.      The Company’s securities trade in an efficient market on the NASDAQ
24    under the ticker symbol “FKWL.”
25          15.      Franklin is liable for the acts of its executives, directors, officers, and
26    agents at common law and under the doctrine of respondeat superior because all the
27    wrongful acts and omissions complained of in this Amended Complaint were carried
28    out during and within the scope of each such person’s employment. The scienter of

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 1    Franklin’s executives, directors, officers, and agents is similarly imputed to Franklin
 2    under established agency principles.
 3                 2.    Individual Defendants
 4          16.    Defendant OC Kim (“Kim”) is and was, at all relevant times, President and
 5    Chief Executive Officer of Franklin, reporting to the Company’s Board of Directors.
 6    Kim transacts and transacted, at all relevant times, Franklin’s business out of Franklin’s
 7    principal executive office in San Diego.       Kim is and was, at all relevant times,
 8    domiciled in the City of San Diego, County of San Diego, California. Kim is and was,
 9    at all relevant times, responsible for Franklin’s management, operations, sales and
10    marketing, new investment sources and funding opportunities, Company strategy, and
11    product management. Kim has held the role of President and Secretary since September
12    2003 and served as the Company’s Acting Chief Financial Officer from April 2018 until
13    March 2021. In the past, Kim was the Chief Executive Officer and President of Accetio
14    Inc., a developer of mobile devices and modules for the telecommunications industry
15    that merged with Franklin in September 2003. The Company touts Kim’s “extensive
16    business, operational and management experience in the wireless industry, including his
17    current position as the Company’s President,” and claims that Kim’s “knowledge of the
18    Company’s business, products, strategic relationships and future opportunities is of
19    great value to the Company.”        Kim signed the Company’s annual report dated
20    September 17, 2020, filed on SEC Form 10-K.              Additionally, Kim signed the
21    Company’s quarterly reports dated September 30, 2020 and December 31, 2020, filed
22    on SEC Form 10-Q.         Further, Kim signed certifications pursuant to 17 C.F.R.
23    §§ 240.13a–14(a) & 240.15(d)–14(a), promulgated under section 302 of the Sarbanes-
24    Oxley Act of 2002, codified as amended, 15 U.S.C. § 7241, and pursuant to section 906
25    of the Sarbanes-Oxley Act of 2002, codified as amended, 18 U.S.C. § 1350, attesting to
26    the veracity of the statements in each of the foregoing SEC filings.
27          17.    Defendant David Brown (“Brown”) is and since March 2021, has been
28    Franklin’s Acting Chief Financial Officer, reporting to Kim. Brown transacts and

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 1    transacted, since March 2021, Franklin’s business out of Franklin’s principal executive
 2    offices in San Diego.
 3          18.    All references to “Individual Defendants” in this Amended Complaint are
 4    to Kim and Brown.
 5          19.    All references to the “Defendants” in this Amended Complaint are to
 6    Franklin, Kim, and Brown, jointly and severally.
 7                            IV.   SUBSTANTIVE ALLEGATIONS
 8          A.     Background
 9                 1.    Franklin’s Business
10          20.    Franklin claims to have a “global customer base” to which it provides
11    wireless solutions, including but not limited to multinational telecommunications
12    conglomerates, other wireless operators, strategic partners, and distributors located
13    primarily in the United States. Among other things, Franklin sources, manufactures,
14    and supplies its customers with 5G/4G mobile hotspot devices, routers, trackers, and
15    other similar mobile device management (“MDM”) solutions.
16          21.    Franklin was incorporated in 1982 in California, and re-incorporated in
17    Nevada on January 2, 2008. Franklin’s principal offices are located in San Diego, from
18    which the Company’s marketing communications, product planning, product
19    management, customer support, sales, and development business activities are
20    conducted on a worldwide basis.
21          22.    The Company claims to market and sell its products “primarily to wireless
22    operators located in the United States” principally through its “internal direct sales
23    organization and, to a lesser degree, indirectly through strategic partners and
24    distributors.”
25          23.    For the fiscal year ended June 30, 2020, the Company generated
26    $75,072,298 in net sales, of which $74,839,778 came from sales in the United States,
27    and $232,520 came from sales in Asia.
28

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 1          24.      For the fiscal year ended June 30, 2020, the majority of Franklin’s products
 2    were manufactured by two independent companies located in Asia.
 3          25.      During the Class Period, Franklin’s largest customer was Verizon
 4    Communications, Inc. (“Verizon”).
 5                   2.    Franklin’s Supply Contract with Verizon for Ellipsis Jetpacks
 6          26.      During the Class Period, Franklin supplied Verizon with certain
 7    malfunctioning 5G/4G LTE Wi-Fi Mobile Hotspots, labelled as Ellipsis Jetpacks (the
 8    “Hotspots” or “Ellipsis Jetpacks”), which the Company describes as “[p]ortable Wi-Fi
 9    hotspot routers that provide wireless Internet access with 5G/4G support for multiple
10    simultaneously connected devices including laptops, tablets, and smart phones.” The
11    Company claims that its Jetpacks “help remote workers be productive while on the go
12    and help students and educational institutions support remote learning activities.”
13          B.       The Jetpacks’ Batteries Were Dangerously Defective
14          27.      The Jetpacks were equipped with a standard lithium-ion, or Li-ION,
15    battery, bearing Model Name V604454AR. The battery measures 55.90 x 43.90 x 6.40
16    millimeters.
17          28.      The lithium-ion batteries in the Jetpacks were defective because they were
18    prone to overheat rapidly and without warning to the end-user. This overheating would
19    cause the battery to leak, spark, catch fire, burn, explode, or otherwise combust, and
20    could cause serious injury.
21          29.      Given the danger that defective lithium-ion batteries present to consumers
22    and the public, lithium-ion batteries are listed as a “Class 9” hazardous material, and
23    specific procedures for packaging, transporting, and recycling lithium-ion batteries
24    while in transit are set forth in 49 C.F.R. § 173.185. Myriad other safety standards exist
25    that are designed to reduce fire hazards associated with the use of lithium-ion batteries
26    to power electronic products.         Such standards are developed by Underwriters
27    Laboratories (“UL”), the PCS Type Certification Review Board (the “PTCRB”), the
28

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 1    Global Certification Forum (the “GCF”), and the Third Generation Partnership Project
 2    (the “3GPP”).
 3          30.    Franklin never tested its V604454AR lithium-ion battery for compliance
 4    with the relevant UL standards, nor did Franklin ever seek certification of its
 5    V604454AR lithium-ion battery from the PTCRB, GCF, or 3GPP.
 6          C.      Franklin’s Revenue from the Sale of its Jetpacks to a Limited Set of
                    Customers Was Material to Franklin’s Overall Business and Viability
 7
            31.    Throughout the Class Period, Franklin repeatedly stated that “[r]evenue for
 8
      sales of products and services is derived from contracts with customers. The products
 9
      and services promised in contracts primarily consist of hot spot routers,” and that
10
      “[m]ost of our revenue recognized at a point in time is for the sale of hot-spot router
11
      products.”
12
            32.    Moreover, only two of Franklin’s customers, Verizon and Sprint,
13
      accounted for nearly all of Franklin’s revenue, making each such customer critical to the
14
      success of Franklin’s business. In Franklin’s 2020 10-K, Franklin stated that “[a]
15
      significant portion of our revenue is derived from a small number of customers. For the
16
      year ended June 30, 2020, net sales to our two largest customers represented 46% and
17
      36% of our consolidated net sales, respectively, and 21% and 72% of our accounts
18
      receivable balance as of June 30, 2020.”
19
            33.    In fiscal year 2020, 82% of the Company’s consolidated net sales, and 93%
20
      of the Company’s accounts receivable balance, was from the sale of Jetpacks pursuant
21
      to its contracts with Verizon and Sprint.
22
            D.      Scienter—The Company Was Fully Aware that the Jetpacks Were
23                  Prone to Overheat and Catch Fire, But Never Disclosed These Known
                    Risks to Investors
24
            34.    Multiple confidential witnesses confirm that Defendants were fully aware
25
      of the overheating dangers the Jetpack devices were experiencing.
26
27

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                     1.     Confidential Witness 1 (“CW1”)2
 1
             35.    CW1, the former CFO of the company, has expressly stated that
 2
      Defendants knew “all about the overheating issues” by 2019 and did “not care.”
 3
             36.    CW1 is a former Director of Finance for Franklin. She held that role from
 4
      June 2018 until she resigned in September 2019. In that capacity, CW1 served as the
 5
      Chief Financial Officer (“CFO”), following the resignation of former CFO Rick Walker
 6
      in April 2018.
 7
             37.    During her tenure as Director of Finance, CW1 was “second in command”
 8
      at the Company, working from the Company’s San Diego headquarters, and reporting
 9
      directly to Kim.
10
             38.    CW1 was one of three Franklin employees who reported directly to Kim.
11
      The others were David Lee, the Company’s Chief Operating Officer (“COO”) and
12
      Charlie Chu, the Company’s Director of Engineering. Although CW1, Lee, and Chu
13
      interacted and met with Kim regularly, Kim was the ultimate decisionmaker at Franklin.
14
                            a.     Complaints from Customers Began in 2018
15

16           39.    According to CW1, there were “ongoing problems” with the lithium-ion
17    batteries in the Jetpacks from as early as mid-2018, when CW1 joined Franklin.
18           40.    CW1 was one of few employees at the Company’s headquarters who spoke
19    English, and thus CW1 frequently fielded complaints from carriers. CW1 relayed the
20    “tons of complaints” to Kim, who did not seem to care about the complaints because the
21    carriers paid for the devices upfront. CW1 said that she “was always fighting with” the
22    customers, because “Franklin would collect money on the front end, then when 5%
23    malfunction, [Kim] would try to get out of paying them what they’re due.”
24           41.    According to CW1, Kim was constantly cutting corners to save money.
25    Specifically, on several occasions, Kim tried to circumvent established FCC compliance
26    protocols to save money. Kim refused to use the costly test houses most manufacturers
27
      2
28      All pronouns used to describe confidential witnesses are feminine and may not reflect the genders of
      the confidential witnesses.
                                         10
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 1    rely on for FCC compliance, and the Company also did not rely on multiple test houses,
 2    contrary to the industry norm. CW1 said that Franklin “did half-ass testing because it’s
 3    very expensive to get fully FCC complaint.”
 4          42.    The Company guaranteed that carriers who bought the Jetpacks upfront
 5    would see 2% or fewer returned. According to CW1, a standard recall rate in the
 6    industry is 2%, and this rate was stipulated in contracts with customers like Verizon,
 7    who purchased bulk quantities of the Jetpacks from Franklin. The contracts provided
 8    that if a customer was ever required to recall more than 2% of the Jetpacks, Franklin
 9    was to issue the customer a refund. Franklin’s recall rate on the Jetpacks was more than
10    double that allotted. When the carriers returned as many as 5% of the Jetpacks due to
11    malfunctions, Kim was uncooperative about offering cash back. Indeed, Kim always
12    tried to get out of paying the carriers for the excessive number of recalls. Kim did not
13    care about refunding carriers due to defective devices.
14                       b.     Defendants Were Well Aware of the Jetpack Overheating
                                Issues by 2019
15

16          43.    According to CW1, Kim and the Company were well aware by 2019 that
17    the Jetpacks overheated, even under normal use, due to the cheap components, including
18    batteries. Kim knew “all about the overheating issues” and did “not care,” according to
19    CW1. According to CW1, CW1, Lee, and Chu discussed the issues with the Jetpacks
20    with Kim regularly.
21          44.    Even though CW1 told Kim repeatedly that the Jetpacks were “pieces of
22    crap,” Kim did not care to improve them, even if that compromised the Jetpacks’ quality
23    and potentially endangered customers.
24                       c.     Recall Process: Verizon
25
            45.    According to CW1, Franklin’s recall process involved the customer
26
      collecting the malfunctioning Jetpacks from end-users.        Verizon had a dedicated
27
      point-person who was responsible for collecting, sending, and receiving the defective
28
      Jetpacks. Verizon then sent the Jetpacks to Franklin to diagnose and repair the Jetpacks.
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 1    Franklin, however, did not actually repair the devices before sending them back to
 2    Verizon.
 3          46.    As CW1 explains, “Verizon sent them back, and Franklin would fiddle
 4    with them and send them back to Verizon,” explaining that “Franklin would claim they
 5    fixed issues and send stuff back” with the same problems that had prompted the initial
 6    return. Franklin represented that it had repaired the defective Jetpacks when, in fact, it
 7    had not. In turn, Verizon would send the same defective Jetpacks back to Franklin time
 8    and again and the process would repeat. That is, Franklin “would receive the same
 9    devices back numerous times.”
10          47.    CW1 explained that “[t]he issue with the bat[terie]s was ongoing the entire
11    time I worked there,” i.e., from June 2018 through September 2019.
12          48.    CW1 fielded several complaints about the Jetpacks’ overheating issues
13    from Verizon during her tenure, and stated that everyone at Franklin, including Kim,
14    was well aware of the batteries’ issues long before Verizon and the USPSC announced
15    the recall on April 8, 2021.
16          49.    Between June 2018 and September 2019, Franklin received a constant flow
17    of Jetpacks with battery issues from Verizon.
18                 2.    Confidential Witness 2 (“CW2”)
19          50.    Statements by CW2 make clear that Defendant Kim personally requested
20    reports detailing incidents in which Jetpack batteries “burned,” and so was well aware
21    of this problem by 2019.
22          51.    CW2 is a former Director of New Business Development for Franklin. She
23    held that role from May 2019 until she resigned in October 2020. In that capacity, CW2
24    was accountable for Franklin’s 5G and Internet of Things (“IoT”) business
25    development. CW2’s product portfolio included the Jetpacks at issue, and CW2 worked
26    with Verizon and other carriers in preparation for the launch of new Franklin products.
27    CW2 worked from the Company’s San Diego headquarters.                    CW2 prepared
28    investigative reports for Kim and at Kim’s direct request during CW2’s tenure.

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 1          52.    CW2 recalls at least multiple incidents of the Jetpacks overheating and
 2    catching fire as a result of “the battery burning,” and wrote reports for Kim at Kim’s
 3    direct request explaining these incidents and detailing what happened “where the battery
 4    burned.”    In Fall 2019, Verizon returned a Jetpack to Franklin after the battery
 5    overheated and the device was burnt. Kim “demanded a report” from CW2, which
 6    CW2 wrote and then sent to Kim. The Fall 2019 report explained that there was a
 7    problem with the batteries in the Jetpack devices that made the devices overheat. CW2
 8    explained that she wrote several similar reports for Kim between May 2019 and October
 9    2020 because there were “a few cases like that.”
10          53.    Notwithstanding that Franklin knew that Jetpacks had a tendency to
11    overheat and combust, Franklin maintained a “default return procedure” specifically for
12    the Jetpacks, whereby Verizon would return defective Jetpacks to Franklin, and Franklin
13    would then refurbish the devices. Franklin then either returned the refurbished Jetpack
14    to Verizon, or would sell the refurbished device to another customer.
15                 3.    Confidential Witness 3 (“CW3”)
16          54.    Statements by CW3 show that the Company was well aware that the
17    Jetpacks were not intended for the use for which they were being sold—daily use in
18    schools and businesses—and that the batteries were likely to overheat after a year of
19    such use.
20          55.    CW3 is a former Senior Director and Vice President of Engineering and
21    Product Development for Franklin.       She worked from the Company’s San Diego
22    headquarters and held that role from June 2004 until she resigned in December 2017. In
23    that capacity, CW3 directed all phases of wireless product programs, including product
24    design, development, technical approval testing, marketing, product certification, and
25    product delivery. CW3 reviewed and updated new business plans and project pipeline
26    development and responded to requests for information (“RFIs”) and requests for
27    proposals (“RFPs”) for wireless data services. CW3 researched and initiated advanced
28    technology and new business development opportunities, and was responsible for

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 1    delivering the Mobile Hotspot projects at Franklin, including the at-issue Jetpacks.
 2    CW3 managed the Company’s relationships with major U.S. carriers, including Verizon
 3    and Sprint, and worked with the carriers to establish product requirements and to
 4    complete the certification and approval processes.
 5          56.   According to CW3, Jetpacks were not designed for round-the-clock use,
 6    nor were they designed to serve as a hotspot for an entire household of users. Instead,
 7    the Jetpacks were designed for a “niche market;” that is, for use by professionals or
 8    students for only a couple of hours per day while away from home, as “a hotspot for a
 9    mobile user, enjoying their Wi-Fi hotspot” while away from home. CW3 explained that
10    Jetpacks are “devices for mobile use,” and a Jetpack is not “a 24-hour use device.”
11          57.   According to CW3, overheating issues are typical of the battery that was
12    included in the Jetpacks, and the problems the Jetpacks encountered were “normal after
13    more than one year of use.” Heavy, round-the-clock use by multiple users causes the
14    batteries to overheat and explode.      “This is not an industry with military-grade
15    batteries,” said CW3.
16                4.     Confidential Witness 4 (“CW4”)
17          58.   Information from CW4 makes clear that defective devices were routinely
18    returned to Franklin, such that Franklin would have received and been in possession of
19    burned devices.
20          59.   CW4 is a former Reverse Logistics Associate for Franklin. She held that
21    role from September 2017 until her resignation in December 2017. In that capacity,
22    CW4 was responsible for receiving, repairing, refurbishing, and refinishing the
23    defective devices that Franklin received from Verizon, Sprint, and T-Mobile, and for
24    shipping these “refinished” devices back to the customer.        CW4 received several
25    Jetpacks that Verizon returned to Franklin, and repaired, refurbished, and refinished
26    them, and then shipped these “refurbished” devices to Verizon.
27          60.   According to CW4, Franklin “repaired” defective Jetpacks by cleaning
28    connections and battery terminals, diagnosing software problems, and re-flashing

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 1    software. After she made the devices look nice, CW4 shipped the devices back to
 2    Verizon.
 3           61.    Customers referred to CW4 as a “Direct Return Specialist Representative,”
 4    and her duties also included communicating directly with her counterparts at Verizon,
 5    Sprint, and T-Mobile.
 6           62.    When Franklin received a defective Jetpack from Verizon, CW4 told
 7    customers that Franklin would replace the defective Jetpack with an entirely new
 8    device, pursuant to the Company’s contract with Verizon. In fact, for most devices,
 9    CW4 usually only repaired, cleaned, or reset the unit’s software and sent it back to
10    Verizon. Specifically, CW4 would “wipe off” the Jetpacks, reset the Jetpack’s battery
11    power management settings, and then repackage the defective Jetpack and ship it back
12    to Verizon.
13           63.    According to CW4, Franklin maintained a device inventory and kept track
14    of which Jetpacks were returned, the reasons for the return, and the resolution of each
15    return. Franklin was able to analyze the data to identify trends from the problems that
16    were occurring regularly, including the battery issues with the Jetpacks.
17    V.     DEFENDANTS’ FALSE AND MISLEADING STATEMENTS AND
             OMISSIONS
18
             A.     September 17, 2020 Annual Report
19
             64.    On September 17, 2020, the Company filed its Annual Report on SEC
20
      Form 10-K for the fiscal year ended June 30, 2020 (the “2020 10-K”).3
21
             65.    In the 2020 10-K, Franklin stated:
22

23
             WE OPERATE IN A FIELD WITH RAPIDLY CHANGING
             TECHNOLOGY. We cannot be certain that our products and services will
24           function as anticipated or be desirable to our intended markets. Our
25
             current or future products and services may fail to function properly, and if
             our products and services do not achieve and sustain market acceptance,
26           our business, results of operations and profitability may suffer.
27    3
        On September 18, 2020, the Company filed an amendment to the 2020 10-K to include an exhibit
28    titled “Description of Securities,” which had been omitted from the original filing. The 2020 10-K was
      not otherwise modified by the amendment.
                                         15
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 1
      (Emphasis added).

 2          66.    The statements in ¶ 65 were materially false and misleading because in
 3    stating that its “current or future products and services may fail to function properly,”
 4    Defendants implied that their current products were not currently failing to function
 5    properly. In fact, Defendants knew that their core product, the Jetpacks, that Franklin
 6    sold to its customers from as early as April 2017 through September 17, 2020, had
 7    defective batteries that caused the devices to overheat and catch fire.
 8          67.    In the 2020 10-K, Franklin also stated:
 9
            THE LOSS OF ANY OF OUR MATERIAL CUSTOMERS COULD
10          ADVERSELY AFFECT OUR REVENUES AND PROFITABILITY,
11
            AND THEREFORE SHAREHOLDER VALUE. We depend on a small
            number of customers for a significant portion of our revenues. For the year
12          ended June 30, 2020, net revenues from our two largest customers
13
            represented 46% and 36% of our consolidated net sales, respectively. We
            have a written agreement with each of these customers that governs the sale
14          of products to them, but the agreements do not obligate them to purchase
15          any quantity of products from us. If these customers were to reduce their
            business with us, our revenues and profitability could materially decline.
16

17          68.    The statements in ¶ 67 were materially false and misleading because
18    Defendants knew but failed to disclose material, adverse facts about the Company’s
19    business, operations, and prospects. Specifically, Defendants knew or were severely
20    reckless in not knowing that the Company’s customers would recall the Ellipsis
21    Jetpacks due to the defective batteries that Defendants knew or were severely reckless in
22    not knowing could cause the devices to overheat and pose a fire hazard as a result, yet
23    Defendants failed to disclose these facts in discussing the risk of loss of customers.
24          69.    In the 2020 10-K, Franklin was also required under 17 CFR § 229.303 to
25    describe “any known trends or uncertainties that have had or that are reasonably likely
26    to have a material favorable or unfavorable impact on net sales or revenues or income
27    from continuing operations.        The problems with the Jetpacks, including their
28    overheating batteries, were reasonably likely to have a material unfavorable impact on

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 1    Franklin’s net sales or revenues or income from continuing operations because those
 2    problems made it likely that Franklin would sell fewer of those devices or suffer recalls
 3    of the devices. Franklin therefore had an obligation to disclose the problems with the
 4    Jetpacks to investors, and misled investors by failing to make that disclosure.
 5          B.     November 16, 2020 Quarterly Report
 6          70.    On November 16, 2020, Franklin filed its quarterly report on Form 10-Q
 7    for the period ended September 30, 2020 (the “1Q21 10-Q”). Franklin incorporated by
 8    reference the risk factors stated in its 2020 10-K.
 9          71.    Franklin’s statements in its 1Q21 10-Q were materially false and
10    misleading for the same reasons those statements were misleading in its 2020 10-K.
11          C.     February 16, 2021 Quarterly Report
12          72.    On February 16, 2021, the Company filed its quarterly report on Form 10-
13    Q for the period ended December 31, 2020 (the “2Q21 10-Q”). Franklin incorporated
14    by reference the risk factors stated in its 2020 10-K.
15          73.    Franklin’s statements in its 2Q21 10-Q were materially false and
16    misleading for the same reasons those statements were misleading in its 2020 10-K.
17                                   VI.     LOSS CAUSATION
18          A.     April 1, 2021
19          74.    On April 1, 2021, Franklin stated that it “ha[d] been notified of reports of
20    battery issues in some of its wireless hotspot devices,” and stated that “[t]he [C]ompany
21    is working with its battery and device manufacturing partners and carrier customer to
22    determine the cause and extent of the problem.”4
23          75.    On this news, the price of Franklin’s shares fell by $0.35 per share, or
24    1.65%, to close at $20.77 per share on April 5, 2021, the next trading session, on
25    unusually heavy trading volume.
26
27
      4
28     Franklin Wireless Corp., Franklin Wireless Investigating Battery Issues (Globe Newswire Apr. 1,
      2021).
                                         17
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                 B.    April 8, 2021
 1
                 76.   On April 8, 2021, CNBC reported that Franklin’s customer, Verizon, was
 2
      “recalling 2.5 million” “Ellipsis Jetpack mobile hotspots imported by Franklin Wireless
 3
      Corp and sold between April 2017 and March 2021” and that “[t]he affected models are
 4
      labeled: MHS900L, MHS900LS and MHS900LPP,” “after discovering that the lithium
 5
      ion battery can overheat, creating a fire and burning hazard.” 5 According to CNBC,
 6
      “just over 1 million of the recalled devices are currently in use, meaning currently or
 7
      recently used by customers.”6 According to CNBC, “Verizon had received 15 reports of
 8
      the hotspots overheating. Six of those reports included incidents of fire damage to
 9
      bedding or flooring and two involved minor burn injuries,” and that “[s]ome of the
10
      hotspots were supplied to students by their schools to continue remote learning.”7
11
                 77.   Also on April 8, 2021, the United States Consumer Product Safety
12
      Commission (“USCPSC”) issued Recall Number 21-106 and published a notice of
13
      Verizon’s recall of Franklin’s “Ellipsis Jetpack mobile hotspots,” identifying that “[t]he
14
      lithium ion battery in the hotspots can overheat, posing fire and burn hazards.” 8
15
      According to the USCPSC, “Verizon has received 15 reports of the hotspots
16
      overheating, including six reports of fire damage to bedding or flooring and two reports
17
      of minor burn injuries.”9 According to the USCPSC, the devices were manufactured in
18
      “Vietnam and Taiwan” and were sold at “Verizon stores nationwide, and other stores
19
      and to school districts nationwide and online at www.verizon.com from April 2017
20
      through march 2021 for between $50 to $150.”10 Consumers were directed to contact
21

22    5
       Lauren Feiner, Verizon Recalls 2.5 Million Hotspot Devices Due to Fire Hazard (CNBC Apr. 8, 2021
      3:05PM EDT),
23    https://www.cnbc.com/2021/04/08/verizon-recalls-2point5-million-hotspot-devices-due-to-fire-hazard.
24    html.
      6
          Id.
25
      7
          Id.
26    8
       U.S. Consumer Product Safety Comm’n, Verizon Recalls 2.5 Million Ellipsis Jetpack Mobile
27    Hotspots Imported by Franklin Wireless Due to Fire and Burn Hazards (Apr. 8, 2021).
      9
          Id.
28
      10
           Id.
                                            18
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 1    Verizon “to receive a replacement hotspot free of charge” and to “return the Ellipsis to
 2    Verizon for safe disposal.”11 Additionally, the USCPSC advised that “[s]chools that
 3    provided the recalled Ellipsis Jetpack to students have been contacted by Verizon with
 4    instructions on receiving replacement hotspots free of charge and mailing packages to
 5    return the recalled Ellipsis Jetpacks to Verizon for safe disposal,” and advised “[p]arents
 6    whose children received the recalled Ellipsis Jetpack from their schools” to “contact
 7    their school for instructions on how to receive a free replacement device and return their
 8    recalled Ellipsis Jetpacks.”12
 9               78.   On this news, the price of Franklin’s shares fell by $2.82 per share, or 14%,
10    to close at $17.33 per share on April 8, 2021, on unusually heavy trading volume.
11               C.    April 9, 2021
12               79.   On April 9, 2021, Franklin stated that its customer, Verizon, “has issued a
13    voluntary recall of its Jetpack Hotspot devices imported by Franklin,” adding that
14    “Franklin is continuing to work with its battery and device manufacturing partners to
15    determine the cause and extent of the concerns.”13 The Company added that “[a]t this
16    time, fewer than 20 reports of trouble have been received with over 2 million devices in
17    [sic] sold over the last three and a half years.”14
18               80.   On this news, the price of Franklin’s shares fell by $4.07 per share, or
19    nearly 23%, to close at $13.26 per share on April 9, 2021, on unusually heavy trading
20    volume.
21                            VII.     CLASS ACTION ALLEGATIONS
22               81.   Lead Plaintiff brings this action as a class action pursuant to Federal Rule
23    of Civil Procedure 23(a) and (b)(3) on behalf of a class consisting of all those who
24    purchased or otherwise acquired Franklin securities in the United States during the
25
      11
           Id.
26    12
           Id.
27    13
       Franklin Wireless Corp., Franklin Wireless Responds to Verizon Jetpack Recall (Globe Newswire
      Apr. 9, 2021 9:00AM EDT).
28
      14
           Id.
                                            19
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 1    Class Period and who were damaged upon the revelation of the alleged corrective
 2    disclosures (the “Class”).
 3          82.    The members of the Class are so numerous that joinder of all members is
 4    impracticable. Throughout the Class Period, Franklin securities were actively traded on
 5    the NASDAQ. While the exact number of Class Members is unknown to Lead Plaintiff
 6    at this time and can be ascertained only through appropriate discovery, Lead Plaintiff
 7    believes that there are hundreds or thousands of members in the proposed Class. Record
 8    owners and other members of the Class may be identified from records maintained by
 9    Franklin, its transfer agent, or its domestic depositary, and may be notified of the
10    pendency of this action by mail, using the form of notice similar to that customarily
11    used in securities class actions.
12          83.    Lead Plaintiff’s claims are typical of the claims of the members of the
13    Class, as all members of the Class are similarly affected by Defendants’ wrongful
14    conduct in violation of federal law that is complained of herein.
15          84.    Lead Plaintiff will fairly and adequately protect the interests of the
16    members of the Class and has retained counsel competent and experienced in class
17    actions and securities litigation. Lead Plaintiff has no interests antagonistic to or in
18    conflict with those of the Class.
19          85.    Common questions of law and fact exist as to all members of the Class and
20    predominate over any questions solely affecting individual members of the Class.
21    Among the questions of law and fact common to the Class are:
22                 (a)     whether applicable securities laws were violated by Defendants’ acts
23    as alleged herein;
24                 (b)     whether statements made by Defendants to the investing public
25    during the Class Period omitted and/or misrepresented material facts about the business,
26    operations, and prospects of Franklin;
27                 (c)     whether the Individual Defendants caused Franklin to issue false and
28    misleading statements during the Class Period;

                                        20
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 1                 (d)    whether Defendants acted knowingly or recklessly in issuing false
 2    and misleading statements; and
 3                 (e)    whether the members of the Class have sustained damages and, if so,
 4    what the proper measure of damages is.
 5          86.    A class action is superior to all other available methods for the fair and
 6    efficient adjudication of this controversy since joinder of all members is impracticable.
 7    Furthermore, as the damages suffered by individual members of the Class may be
 8    relatively small, the expense and burden of individual litigation make it impossible for
 9    members of the Class individually to redress the wrongs done to them. There will be no
10    difficulty in the management of this action as a class action.
11          87.    Lead Plaintiff will rely, in part, upon the presumption of reliance
12    established by the fraud-on-the-market doctrine.
13          88.    The markets for Franklin’s securities were open, well-developed, and
14    efficient at all relevant times. As a result of the materially false and/or misleading
15    statements and/or failures to disclose, Franklin’s securities traded at artificially inflated
16    prices during the Class Period. On September 21, 2018, the Company’s securities on
17    the NASDAQ closed at a Class Period high of $23.00. Plaintiffs and other members of
18    the Class purchased or otherwise acquired the Company’s securities relying upon the
19    integrity of the market price of Franklin’s securities and market information relating to
20    Franklin and have been damaged thereby.
21          89.    During the Class Period, the artificial inflation of Franklin’s securities was
22    caused by the material misrepresentations and/or omissions particularized in this
23    Amended Complaint, causing the damages sustained by Lead Plaintiff and other
24    members of the Class. As described herein, during the Class Period, Defendants made
25    or caused to be made a series of materially false and/or misleading statements about
26    Franklin’s business, prospects, and operations. These material misstatements and/or
27    omissions created an unrealistically positive assessment of Franklin and its business,
28    operations, and prospects, thus causing the price of the Company’s securities to be

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 1    artificially inflated and maintained at artificially inflated levels at all relevant times, and
 2    when disclosed, negatively affected the value of the Company’s shares. Defendants’
 3    materially false and/or misleading statements during the Class Period induced and
 4    resulted in purchases, by Lead Plaintiff and members of the Class, of the Company’s
 5    securities at such artificially inflated prices, and each of them has been damaged as a
 6    result.
 7              90.   At all relevant times, the markets for Franklin’s securities were efficient
 8    markets for the following reasons, among others:
 9                    (a)   Franklin’s securities met the requirements for listing, and were listed
10    and actively traded, on the NASDAQ, a highly efficient and automated market;
11                    (b)   As a regulated issuer, Franklin filed periodic public reports with the
12    SEC and/or the NASDAQ;
13                    (c)   Franklin regularly communicated with public investors via
14    established      market    communication     mechanisms,       including    through    regular
15    dissemination of press releases on the national circuits of major newswire services and
16    through other wide-ranging public disclosures, such as communications with the
17    financial press and other similar reporting services; and/or
18                    (d)   Franklin was followed by securities analysts employed by brokerage
19    firms who wrote reports about the Company, and these reports were distributed to the
20    sales forces and certain customers of their respective brokerage firms. Each of these
21    reports was publicly available and entered the public marketplace.
22              91.   As a result of the foregoing, the market for Franklin’s securities promptly
23    digested current information regarding Franklin from all publicly available sources and
24    reflected such information in the price of Franklin’s securities.                Under these
25    circumstances, all purchasers of Franklin’s securities during the Class Period suffered
26    similar injury through their purchase of Franklin’s securities at artificially inflated
27    prices, and a presumption of reliance applies.
28

                                           22
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 1          92.    A Class-wide presumption of reliance is also appropriate in this action
 2    under the Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States,
 3    406 U.S. 128 (1972), because the Class’s claims center, in large part, upon Defendants’
 4    material omissions.     Because this action involves Defendants’ failure to disclose
 5    material adverse information regarding the Company’s business operations and financial
 6    prospects—information that Defendants were obligated by law to disclose—positive
 7    proof of reliance is not a prerequisite to recovery.
 8                                VIII.         NO SAFE HARBOR
 9          93.    The statutory safe harbor provided for forward-looking statements under
10    certain circumstances does not apply to any of the false statements pleaded in this
11    Amended Complaint. The statements alleged to be false and misleading herein all relate
12    to then-existing facts and conditions.        Additionally, to the extent certain of the
13    statements alleged to be false may be characterized as forward looking, they were not
14    identified specifically as “forward-looking statements” when made, and there were no
15    meaningful cautionary statements identifying important factors that could cause actual
16    results to differ materially from those in the purportedly forward-looking statements.
17          94.    In the alternative, to the extent that the statutory safe harbor is determined
18    to apply to any forward-looking statements pleaded herein, Defendants are liable for
19    those forward-looking statements because at the time each such statement was made, the
20    speaker had actual knowledge, or recklessly disregarded the risk, that the forward-
21    looking statement was materially false or misleading, and/or the forward-looking
22    statement was authorized or approved by an executive officer of Franklin who knew, or
23    recklessly disregarded the risk, that the statement was false when made.
24                                        IX.     COUNT ONE
25            For Violations of Section 10(b) of the Securities Exchange Act of 1934 and
                              SEC Rule 10b–5 (Against All Defendants)
26
            95.    Lead Plaintiff repeats, realleges, and incorporates by reference every
27
      allegation pleaded above as if fully set forth herein.
28

                                        23
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 1          96.    Throughout the Class Period, Franklin’s securities were listed and actively
 2    traded on the NASDAQ, a free, open, and efficient securities market.
 3          97.    During the Class Period, Defendants made, disseminated, or approved the
 4    false and misleading statements specified above.        The Defendants knew that such
 5    statements, when made, were false and misleading, or were reckless in their disregard as
 6    to the truth of such statements, which contained material misrepresentations and failed
 7    to disclose material facts necessary in order to make the statements made, in light of the
 8    circumstances under which they were made, not misleading.
 9          98.    The Defendants violated Section 10(b) of the ’34 Act, codified as amended,
10    15 U.S.C. § 78j(b) and SEC Rule 10b–5, codified as amended, 17 C.F.R. § 240.10b–5,
11    because, in utilizing the means or instrumentalities of interstate commerce, including
12    but not limited to the mails and the Internet, and/or the facilities of the NASDAQ, they
13    directly or indirectly:
14                 (a)    employed devices, schemes or artifices to defraud;
15                 (b)    made untrue statements of material fact or omitted to state material
16    facts necessary in order to make the statements made, in light of the circumstances
17    under which they were made, not misleading; and/or
18                 (c)    engaged in acts, practices, and a course of business that operated as a
19    fraud or deceit upon Lead Plaintiff and the members of the Class in connection with
20    their purchases of Franklin securities during the Class Period.
21          99.    Lead Plaintiff and members of the Class have suffered damages in that, in
22    reliance on the Defendants’ statements and the integrity of the market, they paid
23    artificially inflated prices for Franklin’s securities. Lead Plaintiff and members of the
24    Class would not have purchased such securities at the prices they paid, or at all, if they
25    had been aware that the market prices of Franklin’s securities had been artificially and
26    falsely inflated by the Defendants’ false and misleading statements.
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 1          100. As a direct and proximate result of the Defendants’ wrongful conduct, Lead
 2    Plaintiff and members of the Class suffered damages in connection with their purchases
 3    of Franklin’s securities on the NASDAQ during the Class Period.
 4                                       X.    COUNT TWO
 5               For Violations of Section 20(a) of the Securities Exchange Act of 1934
                                  (Against the Individual Defendants)
 6
            101. Lead Plaintiff repeats, realleges, and incorporates by reference every
 7
      allegation pleaded above as if fully set forth herein.
 8
            102. Throughout the Class Period, Franklin’s securities were listed and actively
 9
      traded on the NASDAQ, a free, open, and efficient securities market.
10
            103. As alleged herein, the Individual Defendants acted as controlling persons
11
      of Franklin within the meaning of Section 20(a) of the ’34 Act codified as amended,
12
      15 U.S.C. § 78t(a). By virtue of their high-level positions, ownership rights, contractual
13
      rights, participation in and/or awareness of the Company’s operations, and/or intimate
14
      knowledge of the false financial statements filed by the Company with the SEC and
15
      disseminated to the investing public, the Individual Defendants had the power to
16
      influence and control, and did influence and control, directly or indirectly, the decision-
17
      making of the Company, including the content and dissemination of the various
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      statements which Lead Plaintiff contends are false and misleading. The Individual
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      Defendants were provided with or had unlimited access to copies of the Company’s
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      reports, press releases, public filings, and other statements alleged by Lead Plaintiff to
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      be misleading prior to and/or shortly after these statements were issued and had the
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      ability to prevent the issuance of the statements or cause the statements to be corrected.
23
            104. In particular, each of these Individual Defendants had direct and
24
      supervisory involvement in the quotidian operations of the Company and, therefore, is
25
      presumed to have had the power to control or influence the particular transactions
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      giving rise to the securities violations as alleged herein, and exercised the same.
27
            105. As set forth above, the Defendants each violated Section 10(b) of the ’34
28
      Act and SEC Rule 10b–5 by their acts and/or omissions as alleged in this Amended
                                        25
              AMENDED CLASS ACTION COMPLAINT: Case No. 3:21-cv-00687-AJB-MSB
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 1    Complaint.    By virtue of their positions as controlling persons, the Individual
 2    Defendants are liable pursuant to Section 20(a) of said Act. As a direct and proximate
 3    result of the Individual Defendants’ wrongful conduct, Lead Plaintiff and other
 4    members of the Class suffered damages in connection with their purchases of the
 5    Company’s securities traded on the NASDAQ during the Class Period.
 6                                  XI.    PRAYER FOR RELIEF
 7          WHEREFORE, Lead Plaintiff prays for relief and judgment, as follows:
 8          A.     Determining that this action may be maintained as a class action under
 9    Rule 23 of the Federal Rules of Civil Procedure;
10          B.     Awarding compensatory damages in favor of Lead Plaintiff and the other
11    members of the Class against all Defendants, jointly and severally, for all damages
12    sustained as a result of Defendants’ wrongdoing, in an amount to be proven at trial,
13    including interest thereon;
14          C.     Awarding Lead Plaintiff and the Class their reasonable costs and expenses
15    incurred in investigating, bringing, and maintaining this action, including counsel fees
16    and expert fees; and
17          D.     Awarding such other and further legal or equitable relief as the Court
18    deems just and proper.
19                             XII.       JURY TRIAL DEMANDED
20          Lead Plaintiff hereby demands a trial by jury on all issues so triable in this Action.
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 1
      Dated: November 15, 2021              Respectfully submitted,

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     Case 3:21-cv-00687-AJB-MSB Document 26 Filed 11/15/21 PageID.271 Page 31 of 31



 1                               CERTIFICATE OF SERVICE
 2          I, Terrence W. Scudieri, Jr., hereby certify that a true and correct duplicate copy
 3    of the foregoing Amended Class Action Complaint for Violations of the Federal
 4    Securities Laws was filed electronically on November 15, 2021. Parties may access this
 5    filing through the Court’s CM/ECF system.
 6          I further certify that on November 15, 2021, a copy of the foregoing Amended
 7    Class Action Complaint for Violations of the Federal Securities Laws was served upon
 8    the below-named individual by electronic mail and by FedEx overnight:
 9

10
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14
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15

16

17                                                       /s/ Terrence W. Scudieri, Jr.
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              AMENDED CLASS ACTION COMPLAINT: Case No. 3:21-cv-00687-AJB-MSB
